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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

      ROBBIE EMERY BURKE,                             )
      as the Special Administratrix of the            )
      Estate of Elliott Earl Williams, deceased,      )
                                                      )
              Plaintiff,                              )
                                                      )       Case No. 11-CV-720-JED-PJC
      vs.                                             )
                                                      )
      STANLEY GLANZ, et al.,                          )
                                                      )
              Defendants.                             )

          PLAINTIFF’S REPLY TO DEFENDANTS’ “RESPONSE IN OBJECTION TO
            PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND EXPENSES”

              COMES NOW the Plaintiff, Robbie Emery Burke (“Plaintiff” or “Ms. Burke”),

      as the Special Administratrix of the Estate of Elliott Earl Williams (“Mr. Williams”), and

      respectfully submits her Reply to Defendants’ Response in Objection to Plaintiff’s

      Motion for Attorney’s Fees and Expenses (Dkt. #551) (“Response”), as follows:

      A.      DEFENDANTS DO NOT CONTEST THAT PLAINTIFF IS THE
              PREVAILING PARTY

              As stated in Plaintiff’s Motion for Attorney’s Fees and Expenses, “for the

      purposes of [42 U.S.C.] § 1988, Plaintiff is clearly the ‘prevailing party’ as she obtained a

      judgment on the merits and an award of compensatory damages well in excess of a

      nominal amount.” Dkt. #543 at 4. In their Response, Defendants do not contest that

      Plaintiff is the prevailing party. Thus, it is undisputed that Plaintiff is entitled to an award

      of attorney’s fees. See, e.g., Kentucky v. Graham, 473 U.S. 159, 164 (1985). The only

      question remaining for the Court is the amount of fees that should be awarded.1



      1    Defendants’ Response does contain a lengthy section titled, “Procedural
      Summary”. See Dkt. #551 at 1-5. Particularly considering the fact that Defendants do not

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      B.     THE HOURLY RATES REQUESTED ARE CONSISTENT WITH RATES
             BILLED BY LAWYERS OF COMPARABLE SKILL AND EXPERIENCE
             PRACTICING IN THE LOCAL MARKET

             Defendants assert that Plaintiff has failed to establish a basis for the hourly rates

      requested. On the contrary, the hourly rates requested are reasonable market rates for

      lawyers of similar experience, reputation and skill. Each of Plaintiff’s attorneys is well

      known to the Court, and the Court is fully capable of making a determination of the

      reasonableness of the rates sought. See, e.g., Smith v. Freeman, 921 F.2d 1120, 1122

      (10th Cir. 1990) (noting that “[t]he establishment of hourly rates in awarding attorneys'

      fees is within the discretion of the trial judge who is familiar with the case and the

      prevailing rates in the area” (citation and internal quotation marks omitted) and that “[a]

      district judge can ‘turn to her own knowledge’ to supplement the evidence.”)

      (quoting Bee v. Greaves, 910 F.2d 686, 689 n. 4. (10th Cir. 1990)). To the extent that the

      Court needs further assistance in determining reasonable market rates, Plaintiff would be

      pleased to appear for hearing and present expert testimony, from local attorney Dennis

      Caruso, concerning local market rates.2

      C.     THE REQUESTED NUMBER OF ATTORNEY HOURS IS REASONABLE




      contest Plaintiff’s “prevailing party” status, the “Procedural Summary” is largely
      unnecessary. The “Procedural Summary” also contains argument concerning the scope
      of Plaintiff’s claims. Id. at 3. The Court will recognize this argument as similar to those
      raised in Defendants’ Defendants’ Motion for Judgment as a Matter of Law or
      Alternatively Motion for Remittitur of Punitive Damages (“Motion for JNOV”) (Dkt.
      #511). Plaintiff has extensively responded to those arguments in other filings. See, e.g.,
      Dkt. ## 522, 531 and 531-1. She will not repeat those arguments here as they distract
      from the issues involving attorney’s fees and expenses.
      2       Plaintiff does acknowledge the fee amount is miscalculated based on a
      discrepancy between the hourly rate for Mr. Bullock and Mr. Mortensen as sought in the
      Motion versus the hourly rate used in the calculation. The fee should be calculated based
      on the lower hourly rates of $350 and $325, respectively, as stated in the Motion itself.

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             To determine whether a reasonable number of hours were expended, the Court

      reviews counsel's billing entries to ensure that counsel exercised proper billing

      judgment. See Case v. Unified Sch. Dist. No. 233, 157 F.3d 1243, 1250 (10th Cir. 1998).

      Therefore, counsel must make a good faith effort to exclude hours or costs that are

      “excessive, redundant or otherwise unnecessary.” Hensley v. Eckerhart, 461 U.S. 424,

      434 (1983). “Billing judgment consists of winnowing the hours actually expended down

      to the hours reasonably expended.” Case, 157 F.3d at 1250. “‘In determining what is a

      reasonable time in which to perform a given task,’ an attorney submitting billing entries

      should consider the following factors: (1) the complexity of the case; (2) the number of

      reasonable strategies pursued; (3) the responses necessitated by the maneuvering of the

      other side; and (4) ‘the potential duplication of services’ caused by the presence of

      multiple attorneys when one would suffice.” Reg'l Dist. Council v. Mile High Rodbusters,

      Inc., 82 F. Supp. 3d 1235, 1245–46 (D. Colo. 2015) (internal quotations from Ramos v.

      Lamm, 713 F.2d 546, 554 (10th Cir.1983) (overruled on other grounds by Pennsylvania

      v. Delaware Valley Citizens' Council for Clean Air, 483 U.S. 711, 725, 107 S.Ct. 3078,

      97 L.Ed.2d 585 (1987)).

              First, the attorneys exercised billing judgment, and this is demonstrated the

      detailed time entries, which provide the Court with ample description of the time spent on

      each task. And while Defendants wish assail the number of hours billed, this Court must

      consider the complexity of the case and the responses necessitated by the maneuvering of

      the other side. Undeniably, this was a complex case involving thousands of pages of

      documents, a multitude of witnesses and difficult legal theories (including, Plaintiff’s

      successful “Monell” theory). Moreover, the case was hard fought, and contentious, with




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      Defendants fighting Plaintiff every step of the way through trial. Each step along the

      way, Plaintiff was required to respond appropriately to the maneuvering of the other side.

             Further,    it    is    well      established   that   “[w]here     a   plaintiff     has

      obtained     excellent        results,    his    attorney     should     recover    a       fully

      compensatory fee.” Hensley v. Eckerhart, 461 U.S. 424, 435 (1983). Plaintiff clearly

      achieved “excellent results” here. The verdict in this case ($10.25 million) is believed to

      be the largest such verdict ever entered against Tulsa County. More generally, it is one of

      the largest wrongful death verdicts in Oklahoma history.

             Considering all of these factors, the number of hours and the amount of the fee

      ($1,473,268.08)3 sought is eminently reasonable.

             Nonetheless, Defendants argue that the hours sought by Plaintiff’s counsel should

      be drastically reduced on several grounds. See, e.g., Dkt. #551 at 11-18.                  These

      arguments lack merit and should be rejected.

             1.      The Time Billed Relating to Other Defendants Should Not be
                     Reduced

             Defendants Glanz and Regalado first propose “a 50% reduction in the total

      number of hours prior to the time” that the other Defendants were dismissed from this

      action. See, e.g., Dkt. #551 at 11-12. The most significant Defendant dismissed from this

      action was Correctional Healthcare Companies, Inc. (“CHC”), after Plaintiff settled her

      claims against the CHC Defendants. And her claims were dismissed against the Owasso

      Defendants on a motion for summary judgment. “A prevailing litigant may not recover

      for hours devoted solely to claims against other parties ..., [b]ut when claims against

      multiple parties share a ‘common core of facts' or ‘related legal theories,’ a fee applicant


      3      The total fee amount sought is approximately 14% of the judgment.


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      may claim all hours reasonably necessary to litigate those issues.” Louisiana Power &

      Light Co. v. Kellstrom, 50 F.3d 319, 327 (5th Cir. 1995) (citing Hensley v. Eckerhart, 461

      U.S. 424, 434–35 (1983)); see also Stevenson v. Lasalle Corr. Transp., LLC, No. 3:13-

      CV-2105-N, 2015 WL 11120525, at *3 (N.D. Tex. Apr. 21, 2015); Bustamante

      v.Albuquerque Police Dep't, No. CIV 88-0672-JP, 1991 WL 125307, at *5 (D.N.M. Apr.

      24, 1991); Mary Beth G. v. City of Chicago, 723 F.2d 1263, 1280–1281 (7th Cir.1983).

             Here, Plaintiff’s claims against all Defendants, and particularly the primary

      Defendants (Glanz, Regalado and CHC), plainly involved a “common core of facts” and

      “related legal theories.” Indeed, had CHC stayed in the case, there would have been

      virtually no difference in the evidence that Plaintiff put on at trial. All of the claims

      against the TCSO and CHC Defendants involved allegations concerning the Jail’s

      unconstitutional health care delivery system and deliberate indifference to Mr. Williams’

      serious health care needs. As such, Plaintiff is entitled to a fully compensatory fee

      despite the dismissal of certain parties.

             2.      Don and Dan Smolen’s Billing Should Not be Reduced as Duplicative
                     and Identical

             The time billed by Dan and Don Smolen is entirely reasonable considering their

      immense contributions to the successful litigation of this case. Defendants propose a

      50% reduction of their time for identical entries.       However, Don Smolen billed

      significantly less time than Dan Smolen, accurately representing the respective time that

      each spent on the case. The reduction proposed by Defendants is draconian and

      unwarranted.

             3.      Tom Mortensen’s Application Should Not be Denied in its Entirety

             Defendants further ask this Court to disallow Mr. Mortensen’s fee application in



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      its entirety. Again, as with the Smolen brothers, Mr. Mortensen’s hours are reasonable

      given his tireless work at trial (as the Court observed), and his invaluable assistance in

      trial preparation (including trial strategy, witness preparation and jury selection). The

      hours billed by Mr. Mortensen are reasonable and should not be reduced, let alone

      disallowed.

             4.      Mr. Bullock’s Trial Time Should be Awarded

             As this Court is aware, Louis Bullock is one of the most skilled, accomplished

      and experienced civil rights attorneys in the history of this state.         Mr. Bullock’s

      observations and suggestions during trial were helpful and important to the successful

      outcome. His trial time should not be disallowed or reduced.

             5.      Greg Denney’s Trial Time Should Not be Disallowed

             Mr. Denney is an experienced trial lawyer who has been involved in this action

      since its inception. It was entirely reasonable for Mr. Denney to attend the trial and assist

      with trial strategy. His trial time should not be disallowed or reduced.

             6.      Time for Contracting Should not be Disallowed

             Time billed for contracting with the clients and fee arrangements should not be

      disallowed as lawyers in this community routinely bill for such matters.

             7.      The Time Billed for Drafting the Complaint, in Preparation for
                     Mediation and Drafting the Joint Status Report Was Not
                     Unreasonable

             Lastly, there is nothing unreasonable about the amount of time billed for the

      Complaint or preparation for mediation or joint status report, especially in light of the

      complexity of the case and excellent results obtained.

             WHEREFORE, premises considered, Plaintiff’s Motion for Attorney Fees and




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      Expenses should be granted over Defendants’ objections.

                                                    Respectfully submitted,


                                                    /s/Robert M. Blakemore
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                                                    ATTORNEYS FOR PLAINTIFF




                                   CERTIFICATE OF SERVICE

            This is to certify that on this 6th day of October 2017, a true and correct copy of the
      above and below was electronically transmitted to the Clerk of the Court using ECF
      System for filing with the Court and service upon all ECF-registered counsel of record.



                                                            /s/Robert M. Blakemore




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